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                     EXHIBIT 2
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HERMÈS INTERNATIONAL and HERMÈS OF
PARIS, INC.,

                           Plaintiffs,
                                                                      CIVIL ACTION NO.
               -against-
                                                                        22-CV-00384 (JSR)
MASON ROTHSCHILD,

                           Defendant.



                   PLAINTIFFS’ PROPOSED JURY VERDICT FORM


         This is the form on which you will provide your verdicts. Please read all instructions in
italics carefully.

                              I.         Mason Rothschild’s Liability

       Please answer all seven questions in this Section by placing an “X” in the appropriate
blank under each question.

       (1)     On Hermès’s claim for trademark infringement under federal law, do you find
               for Hermès?

                                             Yes                        No

       (2)     On Hermès’s claim for unfair competition under federal law for false
               designations of origin, false descriptions and false representations, do you
               find for Hermès?

                                             Yes                        No


       (3)     On Hermès’s claim for trademark dilution under federal law, do you find
               for Hermès?

                                             Yes                        No
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       (4)     On Hermès’s claim for cybersquatting under federal law, do you find for
               Hermès?
                                       Yes                         No


       (5)     On Hermès’s claim for injury to business reputation and dilution under New
               York law, do you find for Hermès?

                                          Yes                         No


       (6)     On Hermès’s claim for trademark infringement under New York law, do you
               find for Hermès?

                                          Yes                         No

       (7)     On Hermès’s claim for unfair competition under New York law, do you find
               for Hermès?

                                          Yes                         No



                                  II.     Hermès’s Remedies

      If you answered “Yes” to any of questions (1), (2), (3), (4), (6) or (7) in Section I
(“Mason Rothschild’s Liability”), then please complete this Section.

       (8)     On the line below, write out the dollar amount of Mason Rothschild’s
               profits from sales of the Accused Products that should be awarded to
               Hermès, if any:


                      $

        If you answered “Yes” to question (4) in Section I (“Mason Rothschild’s Liability”),
then please complete this Section.

       (9)     On the line below, write out the dollar amount of statutory damages that
               should be awarded to Hermès in an amount of not less than $1,000, nor
               more than $100,000:


                      $




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        When you
        When you have
                 have completed
                      completed both
                                both sections,
                                     sections, please
                                               please sign
                                                      sign and
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    bailiff.




JURY
JURY FOREPERSON
     FOREPERSON                                            DATE
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